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        NOT FOR PUBLICATION                                           (Document Nos. 199-201,
                                                                      203, 204, 222, 262)

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

 ___________________________________
                                     :
 UNITED STATES OF AMERICA            :
                                     :                 Criminal No. 11-740 (RBK)
                                     :
             v.                      :                 OPINION
                                     :
                                     :
 NICODEMO S. SCARFO, et al.          :
                                     :
                                     :
 ___________________________________ :



 KUGLER, United States District Judge:

        Currently before the Court are motions submitted by multiple defendants under Fed. R.

 Crim. P. 14(a) seeking severance of various counts and parties in the instant action. For the

 reasons set forth below, the Court will deny all defendants’ motions without prejudice.

 I. Introduction

    This case arises out of the Government’s October 26, 2011 Indictment charging thirteen

 defendants in twenty-five counts of criminal activity. The Indictment includes eight conspiracy

 allegations:

    (1) conspiracy to violate the Racketeer Influenced and Corrupt Organizations Act (“RICO”),
        in violation of 18 U.S.C. § 1962(d) (Count One);
    (2) conspiracy to commit securities fraud, in violation of 18 U.S.C. § 371(Count Two);
    (3) conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349 (Count Three);
    (4) conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h) (Count
        Twenty);
    (5) conspiracy to commit bank fraud, in violation of 18 U.S.C. § 1349 (Count Twenty-One);



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     (6) conspiracy to make false statements in connection with a loan application, in violation of
         18 U.S.C. § 371 (Count Twenty-Two);
     (7) conspiracy to obstruct justice, in violation of 18 U.S.C. § 1512(k) (Count Twenty-Three);
         and
     (8) conspiracy to sell or transfer firearms and ammunition to a prohibited person, or to
         possess a firearm by a convicted felon, in violation of 18 U.S.C. § 371 (Count Twenty-
         Four).

     While only one defendant, Nicodemo S. Scarfo, is named in all twenty-five counts, all

 defendants now seeking severance—Gary McCarthy, Howard Drossner, David Adler, Donald

 Manno, 1 William Handley, John Parisi, William Maxwell, and John Maxwell 2— are charged in

 the RICO conspiracy. The Government alleges that while the Defendants, led by Mr. Scarfo and

 co-defendant Salvatore Pelullo, formed a criminal enterprise to achieve a wide array of illegal

 ends, all of these various acts are united by a common theme: specifically, a conspiracy to “take

 over, loot, and/or conceal the looting of a publicly-held financial services company located in

 Texas [called] FirstPlus Financial Group (‘FPFG’).” Gov’t Opp. Mem. 3. Therefore, the

 Government concludes, a joint trial of all defendants on all counts charged in the Indictment is

 both appropriate and warranted.

 II. Defendants’ Motions to Sever

          While the various arguments supporting each defendant’s motion are summarized in

 some detail below, they generally strike two common themes: first, a single trial will be

 unmanageable from a logistical and managerial standpoint and will unduly strain the Court’s

 resources; second, evidence that the Government plans to introduce at trial, including Defendants

 Scarfo’s and Pelullo’s alleged ties to La Cosa Nostra (“LCN”) and associated acts of violence,




 1
   The Court denied Defendant Manno’s motion to sever at the October 13, 2012 hearing on the motion. The Court
 stated its reasons for the denial at that proceeding, and thus does not further consider Mr. Manno’s motion in this
 opinion.
 2
   Throughout this opinion, the Court will refer to this group as the “moving defendants.”

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 will create so-called “spillover prejudice” which will compromise the moving defendants’ right

 to a fair trial.

          A. Gary McCarthy

          Defendant McCarthy, a transactional, tax, and estate planning attorney, performed legal

 work at the request of his one-time client, Defendant Pelullo. The work related primarily to

 acquisitions made by FPFG. McCarthy Br., 3. The Indictment names McCarthy in the four

 conspiracy counts: to violate RICO (Count One); to commit securities fraud (Count Two); to

 commit wire fraud (Count Three); and to commit money laundering (Count Twenty).

          Defendant McCarthy advances two principle grounds in support of his motion to sever.

 First, he asserts that trying the case as charged in the indictment would give rise to a so-called

 “monster trial.” Id. at 6. He notes that district courts in the Third Circuit have granted severance

 to defendants involved in very large “monster trials” based on various manageability and

 logistical concerns. 3 He argues that the joint trial envisioned by the Government would

 implicate virtually all of these concerns. Id. at 8-14. Relatedly, McCarthy urges the Court to

 adopt a burden-shifting rule from the Second Circuit regarding large trials: if a joint trial

 involves at least ten defendants and if the Government reasonably expects it will take more than

 3
   Specifically, the brief lists nine such arguments: “Lengthy joint trials disrupt and distract the jury’s ability to
 devote its full attention to the case” (citing United States v. Gatto, 746 F.Supp. 432, 451 (D.N.J. 1990)); “Severed
 trials decrease the length of service of each jury due to the ‘smaller body of evidence’ being introduced, examined
 and challenged by a smaller group of attorneys.” (citing United States v. Jones, No. 91-570, 1992 WL 78784 at *8-9
 (E.D. Pa. Mar. 24, 1992)); “‘Monster’ trials place a ‘tremendous burden’ on the courts, defendants, the defense bar,
 jurors and prosecutors alike.” (citing Jones, 1992 WL 78784 at *10-13); “‘Monster’ trials create a situation where
 the absence of even one juror, defendant, attorney or witness ‘can throw a clog into the trial that brings it to a halt.’”
 (citing Jones, 1992 WL 78784, at *10-13); “‘Monster’ trials have a ‘ruinous’ effect on the court’s calendar, which
 can stretch an already overburdened docket to the breaking point.” (citing Jones, 1992 WL 78784, at *10-13);
 “Subsequent, severed trials would be shortened because the government would have ‘a better sense of what is
 effective, and where the strengths of its proof lies.’” (citing Jones, 1992 WL 78784, at *10-13); “Severed defendants
 may plead guilty after they have seen the government’s method and quality of proof in the first trial(s).” (citing
 Jones, 1992 WL 78784, at *10-13); “A joint trial forces lesser-charged defendants and their counsel to sit through a
 multi-month trial when the proof that concerned them could be put forward in a matter of days.” (citing United
 States v. Vastola, 670 F. Supp. 1244, 1262-63 (D.N.J. 1987)); “Joint trials raise the basic problem of providing
 adequate courtroom space for defendants and their counsel.” (citing Vastola, 670 F. Supp. at 1262-63). McCarthy
 Br. 6-7.

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 four months to present its case, then the Government should make an “especially compelling

 justification for a joint trial.” Id. at 8 (citing United States v. Casamento, 887 F.2d 1141, 1151-

 52 (2d Cir. 1989)). Because the proposed trial meets these conditions, McCarthy asserts that the

 Government should have the burden of establishing that severance in this case is not appropriate.

        Second, McCarthy argues that failure to sever his case will compromise his right to a fair

 trial. Specifically, he fears that trying the counts in which he is not named will “potentially”

 cause the jury to find him “guilt[y] by association,” resulting in so-called “prejudicial spillover.”

 Id. at 14. He claims that severance is warranted because of the difference between the amount of

 evidence he believes the Government will offer against him and the amount of evidence that will

 be offered against other defendants such as Mr. Scarfo and Mr. Pelullo. Id. (citing United States

 v. Gatto, 746 F. Supp. 432, 445 (D.N.J. 1990) (“Denial of a motion for severance is inappropriate

 . . . if there is a great disparity in the amount of evidence between the moving defendant and his

 or her codefendants.”)). In addition, he asserts a heightened danger of spillover because the

 charges not pending against him are “provocative”; that is, they relate to firearms possession,

 alleged threats of violence, and alleged ties to La Cosa Nostra. Id. at 14-15.

        Defendant McCarthy asks the Court to apply a seven factor test to determine whether

 severance is warranted. Specifically, the Court should take the following into consideration:

                (1) The number of defendants and the number of counts;
                (2) The complexity of the indictment;
                (3) The estimated length of the trial;
                (4) Disparities in the amount or type of proof offered against the defendants;
                (5) Disparities in the degrees of involvement by defendants in the overall scheme;
                (6) Possible conflict between the various defense theories or trial strategies;
                (7) Prejudice from evidence admitted only against co-defendants but which is
                inadmissible or excluded as to a particular defendant.

 Id. at 19-20 (citing Gatto, 746 F. Supp. at 446). Applying these factors to the instant case,

 McCarthy asserts that severance is appropriate.


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        Finally, McCarthy asks this Court to grant his severance motion because of the possibility

 that “a joint trial will deprive a defendant of the ability to present exculpatory testimony from a

 co-defendant.” McCarthy Br., 21 (citing United States v. Boscia, 573 F.2d 827 (3d Cir. 1978)).

 Although he does specify which defendants might seek exculpatory testimony from which co-

 defendants, McCarthy offers this principle as an independent basis for severance.

        Accordingly, Defendant McCarthy requests that the Court sever the firearms and

 ammunition counts (Counts Twenty-Four and Twenty-Five) from those in which he is

 implicated. Moreover, he requests not to be tried with any Defendant named in seven or more

 conspiracies. Id. at 22.

        B. Howard Drossner

        Defendant Drossner is a certified public accountant. The Indictment charges him in

 twenty-two counts, including six conspiracy counts: to violate RICO (Count One); to commit

 securities fraud (Count Two); to commit wire fraud (Count Three); to commit money laundering

 (Count Twenty); to commit bank fraud (Count Twenty-One); and to make false statements in

 connection with a loan application (Count Twenty-Two). In addition, he is charged with the

 substantive wire fraud violations (Counts Four through Nineteen).

        Defendant Drossner seeks severance on grounds related primarily to spillover prejudice.

 Specifically, he argues that the “core” of the indictment centers on allegations of financial fraud;

 thus, it is inappropriate for the government to set forth “extremely inflammatory information

 regarding La Cosa Nostra and its purported operations and use of violence” because those issues

 are “irrelevant” to the securities fraud charges and because the indictment does not allege that

 Mr. Drossner knew of or was involved in organized crime activities. Id. at 3-5. He similarly

 argues that the firearms-related charges are “totally unrelated” and “inflammatory and



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 prejudicial.” Id. at 10. Furthermore, he claims that the mortgage fraud conspiracy is “facially

 and practically” unrelated to the securities fraud charges. Id. at 9-10.

        Defendant Drossner offers additional spillover-related arguments in favor of severance.

 First, he claims that, in general, the indictment makes very few “specific allegations” against

 him. Id. at 6, 7-9. That is, while the counts relating to the mortgage loan contain specific

 allegations of his involvement, there is no such specificity with respect to the securities fraud

 charges. Id. at 15. Thus, trying these two sets of counts together would create a

                substantial risk of confusion and spillover prejudice that might
                induce the jury to convict Mr. Drossner of a massive securities
                scheme in which he was not involved or unfairly impact Mr.
                Drossner on the [mortgage fraud counts] because of . . . the
                potential for the jury to conclude that if he is charged with multiple
                offenses he must be guilty of something. Id. at 15-16.

 This danger is heightened, Drossner continues, because the evidence against him in the securities

 fraud counts is “so minimal compared to the other defendants.” Id. at 16 n.5. Further, Drossner

 asserts that the jury will be likely to confuse the facts of the securities fraud counts with the facts

 of the mortgage fraud counts. Id. at 17. He also suggests that the jury may convict based on

 evidence that would be inadmissible in separate trials as improper propensity evidence. Drossner

 Reply Br. 4.

        Additionally, Mr. Drossner claims that he may elect to testify and address one of the

 conspiracies but not the other counts; therefore, trying all charges against him in one joint trial

 may violate his Fifth Amendment rights. Drossner Br., 17.

        Drossner references cases, mostly outside of the Third Circuit, in which severance was

 ordered for a variety of reasons relating to the jury’s apparent inability to “compartmentalize” the

 evidence presented against each defendant in a joint trial. See, e.g., id. at 18-20 (citing United

 States v. Gallo, 668 F. Supp. 736 (E.D.N.Y. 1987) (finding that the jury would be unable to


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 compartmentalize the evidence because the element of proof on any given scheme in the twenty-

 two count indictment could be confusing, and concluding that undue prejudice would result to

 those defendants charged in a small proportion of the counts and implicated “by only bits and

 pieces of the evidence”)); id. at 19 (citing United States v. Kelly, 349 F.2d 720 (2d Cir. 1965)

 (granting severance because the sheer volume of evidence offered against moving defendants’

 co-conspirators caused prejudice despite the use of limiting instructions to the jury)); id. at 20-

 21 (citing United States v. Paul, 150 F.R.D. 696 (S.D Fla. 1993) (finding severance appropriate

 where, among other considerations, the government sought to prove over 100 overt acts and

 predicate offenses at trial)). Within the Third Circuit, Drossner acknowledges that recent

 authority simply affirms a trial court’s discretion to grant motions to sever, rather than

 establishing any obligation to do so upon a defendant’s claims of prejudice. Id. at 21-23 (citing

 United States v. Bergrin (Bergrin II), 682 F.3d 261, 284 (3d Cir. 2012)).

         Finally, Defendant Drossner emphasizes that because the Indictment charges mainly

 conspiracies without charging many substantive offenses, 4 the danger of spillover is

 “heightened” because it will be difficult for the jury to figure out when one conspiracy begins

 and another ends. Id. at 24-25 (citing United States v. Gallo, 668 F. Supp. 736, 751-52 (E.D.

 N.Y. 1987)).

         For these reasons, Defendant Drossner proposes the following severance plan: the Court

 should conduct one trial on the RICO count (Count One); one trial on what he terms the “FPFG

 Fraud” counts (Counts Two through Twenty); and one trial on the remaining counts (Counts

 Twenty-One through Twenty-Five). He also supports Defendant Adler’s plan for severance

 discussed below.


 4
  The substantive offenses in the Indictment relate to wire fraud (Counts Four through Nineteen) and felon in
 possession of a firearm (Count Twenty-Five).

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        C. David Adler

        David Adler is a “prominent New York securities lawyer” who acted as FPFG’s

 securities law counsel. Adler Br., 2-3. He is charged in only three conspiracy counts: to violate

 RICO (Count One); to commit securities fraud (Count Two); to commit wire fraud (Count

 Three). In addition, he is named in the substantive wire fraud counts (Counts 4-19).

         Defendant Adler seeks severance because he claims he will suffer prejudice from a joint

 trial with the other defendants charged in the Indictment. First, he notes that some of the

 allegations made against him involve “a failure to make required disclosures in [Securities and

 Exchange Commission (‘SEC’)] filings on behalf of the Company.” Id. at 3. Adler asserts that

 SEC compliance issues are “very technical and complex.” Id. Thus, a single trial of all counts

 will cause him prejudice because his highly technical defense “will be lost on jurors who will

 naturally focus on the alleged evidence of violence and organized crime.” Id. at 4.

        Second, Defendant Adler emphasizes concerns about the risk of prejudice to “those

 defendants not charged with violence” that may result when the government offers “substantial

 evidence” of co-defendants’ violent acts. Id. at 6 (citing Gatto, 746 F. Supp. at 450-51). In

 addition, he asserts that limiting instructions may not mitigate the risks of spillover prejudice

 when the jury would have to distinguish between “separate conspiracies, separate conspirators

 and then determine which statements are admissible against which co-conspirators in which

 conspiracies.” Id. at 7 (citing Gatto, 746 F. Supp. at 450). He further maintains that a lengthy

 trial would place an undue burden on the jurors serving in the case, defense counsel, and the

 Court’s “already full docket.” Id. at 8.

        Defendant Adler also argues that severance is necessary to avoid the risk of unfair

 prejudice because the various conspiracies alleged involve separate factual allegations against



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 varying combinations of defendants. Id. at 11. Relatedly, Adler claims that the Government

 intends to offer evidence concerning the conspiracies in which Mr. Adler is not charged when

 trying to prove the RICO conspiracy. Id. He fears that the jury might rely on such evidence,

 even if not strictly admissible against him, in order to convict him.

          For these reasons, Defendant Adler offers the following severance proposal: the Court

 should conduct three separate trials involving different combinations of counts and defendants.

 The first would include Defendants Scarfo, Pelullo, Parisi, W. Maxwell, J. Maxwell, Leshner,

 and Stark on all counts in the Indictment. 5 Adler suggests such a grouping because these are

 “the only defendants charged in connection with the violence alleged in the indictment and

 substantially all of the defendants named in the obstruction of justice count—Count 23.” Id. at

 17 (emphasis in original). Adler argues that because “the majority of these defendants are

 charged with substantially the same offenses and, with few exceptions, are named in every

 count,” the Court will not need to issue as many cautionary instructions, and that the jury will be

 better able to “properly compartmentalize the evidence.” Id. Moreover, trying that group first

 would allow incarcerated Defendants Scarfo and Pelullo a speedier disposition of their case

 while also “providing the Court with an opportunity to evaluate the Government’s evidence.” Id.

 at 18.

          The second group would consist of Defendant Adler and Defendants Drossner, Handley,

 and McCarthy for a trial on the RICO conspiracy (Count One) and the “complex securities fraud

 conspiracy alleged in Counts [Two through Twenty]” Id.




 5
  Defendant Stark entered a guilty plea that was accepted by the Court on June 27, 2012. His sentencing is currently
 scheduled for October 11, 2012.

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         Finally, Defendant Adler argues that the Court can “easily adjudicate[]” the mortgage

 fraud Counts (Counts Twenty-One and Twenty-Two) in a two-week trial of Defendants

 Drossner, Handley, and Murray-Scarfo. Id. at 20.

         D. John Parisi

         John Parisi, a cousin of Defendant Scarfo, acted as the manager of Learned Associates.

 Indictment ¶ 27. He asks the Court to sever the trial based on the specificity of allegations made

 against each defendant. Although he cites no legal authority in support of this suggestion, he

 asserts that the Court has inherent power to do so under its case management authority. Parisi

 Br., 4-6.

         In addition, Defendant Parisi asks that Counts 24 and 25, relating to felon in possession

 of a firearm, be severed from the rest of the counts charged in the Indictment. While

 acknowledging that the RICO statute “technically permits” joinder of these counts, he asks that

 they be severed because “there is nothing in the indictment which even hints that the firearms

 were used in connection with the alleged takeover scheme, nor is there any suggestion that the

 weapons were obtained for purposes related to the alleged scheme – or for use in connection with

 the other alleged conspiracies.” Id. at 12.

         E. William Handley

         Defendant Handley, a “long-time friend” of Defendant Pelullo, served as Chief Financial

 Officer of FPFG as well as a member of its Board of Directors. Indictment ¶ 25. He is charged

 in six conspiracies: to violate RICO (Count One); to commit securities fraud (Count Two); to

 commit wire fraud (Count Three); to commit money laundering (Count Twenty); to commit bank

 fraud (Count Twenty-One); to make false statements in connection with a loan application

 (Count Twenty-Two). He emphasizes that he is not named in the obstruction of justice (Count



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 Twenty-Three) or firearms-related (Counts Twenty-Four and Twenty-Five) counts of the

 Indictment. Defendant Handley also adopts the legal discussion presented to this Court by

 Defendants McCarthy and Adler, including the three-trial severance proposal outlined in

 Defendant Adler’s brief.

         F. William Maxwell

         William Maxwell is an attorney who became Special Counsel to FPFG’s Board of

 Directors. Indictment ¶ 23. He is charged in all eight conspiracies: to violate RICO (Count

 One); to commit securities fraud (Count Two); to commit wire fraud (Count Three); to commit

 money laundering (Count Twenty); to commit bank fraud (Count Twenty-One); to make false

 statements in connection with a loan application (Count Twenty-Two); to obstruct justice (Count

 Twenty-Three); to sell or transfer a firearm and ammunition to a prohibited person (Count

 Twenty-Four). He claims that the Indictment does not specify how he was involved in Counts

 Twenty-Two through Twenty-Four. W. Maxwell Reply Br. 2. Further, Defendant Maxwell

 maintains that he did not assist in the preparation of FPFG’s SEC filings. Id. at 6. He asserts

 that trying the “professional” defendants like himself and the other lawyers with the “non-

 professional” defendants like Defendants Scarfo and Pelullo will likely result in “finger-

 pointing” between the two groups, a situation he claims will give rise to “antagonistic defenses”

 warranting severance. Id. at 6 n.2. Finally, he alludes to possible juror confusion problems that

 would arise if some evidence is admitted against Mr. Scarfo and Mr. Pelullo but not against him.

 Id. at 6-7.

         In addition, Defendant Maxwell adopts all relevant arguments for severance advanced by

 any of his co-defendants.

         G. John Maxwell



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        John Maxwell, the brother of William Maxwell, served as Chief Executive Officer and

 President of FPFG. Indictment ¶ 24. He joins in his brother’s arguments in their entirety.

 III. The Government’s Opposition

        A central theme of the Government’s opposition is that although the RICO conspiracy

 alleged involved “several component acts” and not all of the moving defendants engaged in each

 act, together they form one coherent narrative in which the defendants “conspired to take over,

 loot, and/or conceal the looting of . . . FPFG.” Gov’t Opp. Mem., 2-3. Thus, a joint trial is

 permissible and appropriate. The Government offers both affirmative arguments in support of a

 joint trial as well as responses to specific arguments made by the moving defendants.

        A. Affirmative Arguments in Support of a Joint Trial

        The Government emphasizes the “twin rationales of efficiency and fairness” underlying

 the federal system’s preference for joint trials. Id. at 6 (citing Richardson v. Marsh, 481 U.S.

 200, 210 (1987)).

                i. Efficiency of a Joint Trial

        The Government argues that because all of the severance proposals advanced by the

 moving defendants involve trying the “core” FPFG takeover and looting scheme more than once,

 multiple trials will be incredibly inefficient as compared to a single trial. That is because the

 Government will have to present its evidence on these charges multiple times, and such evidence

 represents most of what the government plans to offer in its case in chief. Id. at 14. In addition,

 the Court will be able to rule on various defense objections in a consolidated fashion if all

 defendants are tried jointly, thereby reducing the number of pre-trial hearings. Id. at 17.

        The Government points out that trying these defendants at all, no matter what the

 configuration, will impose burdens on someone; that is, while a single trial will admittedly place



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 some burdens on defense counsel and the defendants, multiple trials will likewise burden the

 United States Attorneys’ office, the Court’s calendar, witnesses, and others stakeholders. Id. at

 16. Because of the acknowledged preference for joint trials in the federal system, the

 Government argues that the decision has already been made as a matter of judicial policy that

 these burdens should fall on the defendants’ shoulders. Id.

                 ii. Fairness of a Joint Trial

         The Government asserts that defendants who are tried in subsequent trials will have

 substantial tactical advantages over those tried in earlier trials because they will see the entirety

 of the Government’s case in chief. Id. at 18. Thus, as a matter of adversarial fairness, as well as

 fairness between co-defendants charged in the same Indictment, a joint trial is most appropriate.

                 iii. Additional Points

         The Government acknowledges a district court’s discretion to deny a severance motion

 and instead have the prosecution present its case in chief in segments in order to help the jury

 compartmentalize the evidence. Id. at 13 (citing United States v. Louie, 625 F. Supp. 1327, 1340

 (S.D.N.Y. 1985)). Relatedly, the Government plans to use summary charts in order to help the

 jury compartmentalize the evidence pertaining to each defendant. Id. at 26. That the various

 alleged conspiracies took place during different time frames and involve different subject matter

 will further help this effort. Id. at 27.

         In addition, the Government notes that some of the remaining twelve defendants may

 well plead guilty before trial starts, thereby alleviating fears of a “monster trial.” Consequently,

 it asks the Court to delay a decision on the severance issue until plea negotiations have

 concluded. Id. at 10.




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         Finally, the Government states that the firearms charges should be tried along with the

 rest of the counts because they show the “full criminal scope of the RICO conspiracy.” Id.

 Further, because the evidence used to support those charges is relatively straightforward and

 discrete, trying all counts together will pose no real obstacles to the jury’s compartmentalization

 efforts. Id.

         B. The Government’s Responses to Specific Arguments of Moving Defendants

                i. Distinguishing moving defendants’ cited authority

         The Government attempts to distinguish the cases that the moving defendants rely upon.

 The cases are generally “more than twenty years old,” and thus they do not take account of either

 intervening United States Supreme Court and Third Circuit precedent or technological

 developments that help streamline and simplify courtroom presentations. Gov’t Opp. Mem., 8.

 In addition, the cited cases “involve considerations favoring severance that are absent” in the

 instant case. Id. at 9 n.6. Specifically, in the Gatto case, relied upon by five of the moving

 defendants, the risk of spillover prejudice was especially acute because proving the substantive

 RICO counts required establishing a series of violent acts, including murder, beatings, and

 threats. Id. No such proofs would be necessary to make out the RICO count in this case,

 however. In addition, the Vastola case, cited by five of the moving defendants, presented a

 situation in which less than half of the twenty-one joined defendants were charged with any

 RICO violations. Id.

         The Government appears to embrace the seven factor test employed in United States v.

 Gatto but emphasizes that exactly how to apply and weigh each factor depends on the specific

 facts of each case and is committed to the judge’s discretion. Id. Thus, given the fact-intensive




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 nature of the severance inquiry, it may be inappropriate to rely too heavily on specific severance

 decisions made by past district courts.

                      ii. Fears of a monster trial

            Claims by the moving defendants that a single trial is unwieldy simply because of the

 vast amount of documents and recorded conversations turned over in discovery are misplaced,

 the Government maintains, because the prosecution will offer only a small percentage of this

 evidence at trial; moreover, each defendant will spend the same time reviewing relevant

 discovery regardless of how many trials actually take place. Id. at 12.

                      iii. Different levels of involvement by various moving defendants

            The Government takes issue with some moving defendants’ claims 6 that they were

 simply “peripheral” figures in the scheme to take over and loot FPFG; rather, it maintains that

 they are “core” conspirators. Id. at 20. Relatedly, it emphasizes that each count charged in the

 Indictment shares a transactional nexus with the others, rendering all counts related to each other,

 and thus appropriate for a joint trial. Id. at 21-22.

                      iv. Admissibility of evidence as between various defendants

            Significantly, the Government maintains that even if the Court conducted two trials, one

 on the FPFG scheme, and one involving the bank/mortgage fraud conspiracy, obstruction

 conspiracy, and firearms conspiracy, evidence admissible in the latter trial would be admissible

 in the former one. Id. at 24-25.

            In addition, the Government asserts that “[b]ecause the conspiracies charged in Counts 1,

 2, 3, and 20 all [share important similarities comprising an overall scheme], any co-conspirator

 statement made during and in furtherance of the overall scheme would be admissible against all

 of the defendants charged in any of those four counts.” Id. at 32. That is, much of the evidence
 6
     See, e.g., Parisi Br. 6; McCarthy Br. 2-4.

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 the Government will present to prove the RICO conspiracy charge will be equally relevant to

 prove the conspiracies charged in Counts Two, Three, Four, and Twenty. Id. at 40. Specifically,

 evidence of Defendants Scarfo’s and Pelullo’s ties to the LCN would be admissible against the

 moving defendants in a severed trial on the FPFG counts. Id. The Government assures the

 Court that it does not plan to offer evidence concerning the LCN that involves the commission of

 violent crimes. Id. at 42.

        Finally, the Government emphasizes that statements admitted under Fed. R. Evid.

 801(d)(2)(E) regarding admissions of co-conspirators may be considered by the jury “without

 limitation against any defendant who is a member of that conspiracy.” Id. at 30 (citing United

 States v. Simmons, 923 F.2d 934, 945 (2d Cir. 1991)). Thus, the jury will not have

 insurmountable difficulties trying to keep track of which evidence is admissible against which

 defendants.

                v. Additional Responses

        The Government points out that Adler and McCarthy’s contention that their “highly

 technical defenses” warrant severance is a contention not supported by any case law. Id. at 45.

 In addition, the Government contends that severance motions should not be granted simply

 because the moving defendants speculate that they may want to call some of their co-defendants

 to testify in their behalf, or that they themselves might want to testify to address some counts but

 not others. Id. at 50 (citing cases for the proposition that such desires must be expressed with

 specificity and certainty in order to warrant severance).

        Finally, the Government points out that there is no case law supporting Defendant

 Parisi’s statement that severance is appropriate in his case because of the “disparity between the

 specificity and the seriousness of the allegations” among defendants like himself and others like



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 Scarfo and Pelullo. Id. at 52 (citing Parisi Br., 9). Further, the Government strongly disputes

 Parisi’s claim that he was only marginally involved in the FPFG scheme; to the extent Parisi

 bases this assertion solely on the contents of the Indictment, the Government points out that it

 need not set forth in an indictment all of the evidence it plans to offer at trial against a defendant

 like Parisi. Id. at 52-53.

 IV. Discussion

         A. The Preference for Joint Trials

         A “fundamental principal” of federal criminal law is the preference for joint trials of

 defendants who are indicted together. United States v. Urban, 404 F.3d 754, 775 (3d Cir. 2005)

 (citing Zafiro v. United States, 506 U.S. 534, 537 (U.S. 1993)). Joint trials play a vital role in the

 federal criminal justice system because they “promote efficiency and serve the interests of justice

 by avoiding the scandal and inequity of inconsistent verdicts.” Zafiro, 506 U.S. at 537

 (quotations and citations omitted).

         The preference for joint trials is particularly strong in cases involving multiple defendants

 charged under a single conspiracy. See United States v. Voigt, 89 F.3d 1050, 1094 (3d Cir.

 1996). In this context, joint trials aid the finder of fact in determining the full extent of the

 conspiracy while preventing any tactical disadvantages to the government that might arise from

 having to disclose its case through successive trials. Id. (quotations and citations omitted); see

 also United States v. Hobbs, No. 10-620-02, 2012 WL 2873513, at *3 n.9 (E.D. Pa. July 13,

 2012) (“The presumption in favor of joint trials operates most strongly in conspiracy cases,

 United States v. Sandini, 888 F.2d 300, 307 (3d Cir. 1989), because the Government’s proof in

 such cases necessarily relies on showing a connection between conspirators, which often may be

 achieved most effectively through a joint trial. [citation omitted].”).



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         Among the various types of conspiracy indictments, those charged under the Racketeer

 Influenced and Corrupt Organizations (“RICO”) statute provide perhaps the strongest case for

 joint trials. “[T]he Supreme Court has repeatedly reaffirmed that RICO is a powerful weapon

 that significantly alters the way trials are conducted in cases that involve racketeering acts

 committed by members of an enterprise.” United States v. Bergrin (Bergrin I), 650 F.3d 257,

 275 (3d Cir. 2011). Moreover, the Court has consistently declined to impose limits on how

 RICO may be applied, thereby endowing the statute with an “exceptionally broad” reach. Id. at

 267. As a result, joinder of “separately performed, functionally diverse and directly unrelated

 predicate acts and offenses will form a pattern under RICO, as long as they all have been

 undertaken in furtherance of one or another varied purposes of a common organized crime

 enterprise.” Id. at 271. Relatedly, joinder of RICO and non-RICO counts in one indictment is

 permissible if “the offenses charged in the non-RICO counts are also charged as racketeering

 predicates in the RICO counts.” United States v. Irizarry, 341 F.3d 273, 290 (3d Cir. 2003).

        Given RICO’s exceptionally broad sweep, it is well established in the Third Circuit that

 prosecutors making use of the statute have considerable discretion to join numerous and

 potentially diverse defendants in a single indictment. See United States v. Eufrasio, 935 F.2d

 553, 567 (3d Cir. 1991) (“Rule 8(b) provides substantial leeway to prosecutors who would join

 racketeering defendants in a single trial.”). Thus,

                [Rule 8(b)] permits joinder of defendants charged with
                participating in the same racketeering enterprise or conspiracy,
                even when different defendants are charged with different acts, so
                long as indictments indicate all the acts charged against each
                joined defendant (even separately charged substantive counts) are
                charged as racketeering predicates or as acts undertaken in
                furtherance of, or in association with, a commonly charged RICO
                enterprise or conspiracy.” Id. (citation omitted).




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 This broad joinder authority is appropriate in the RICO context because “forc[ing] the

 government to try some alleged criminal activities separately from others alleged to be part of

 the same RICO enterprise would prevent the government from prosecuting the type of crimes the

 statute was intended to combat.” United States v. Vastola, 670 F. Supp. 1244, 1262 (D.N.J.

 1987) (citations omitted).

        In light of these well-developed principles, the Third Circuit has recently cautioned that

 “it is not a [trial] court’s prerogative to construct a detour around RICO simply because the court

 is uncomfortable with how that statute may significantly alter[] the ways trials are conducted in

 cases that involve racketeering acts committed by members of an enterprise.” United States v.

 Bergrin (Bergrin II), 682 F.3d 261, 284 (3d Cir. 2012) (citations omitted).

        B. Rule 14 Analysis

        Notwithstanding the broad rules of joinder in RICO prosecutions, “[i]f the joinder of

 offenses or defendants in an indictment, an information, or a consolidation for trial appears to

 prejudice a defendant or the government, the court may order separate trials of counts, sever the

 defendants’ trials, or provide any other relief that justice requires.” Fed. R. Crim. P. 14(a).

        Rule 14 places “the burden of showing prejudice from the joinder on the defendant

 seeking severance.” Eufrasio, 935 F.2d at 568. This is a “heavy burden,” requiring a defendant

 to establish that denying severance would lead to “clear and substantial prejudice resulting in a

 manifestly unfair trial.” Urban, 404 F.3d at 775 (internal quotations and citations omitted); see

 also United States v. Colbert, No. 08-411, 2011 WL 3360112, at *14 (W.D. Pa. Aug. 3, 2011)

 (“A defendant seeking relief under Rule 14 has the burden to demonstrate that the failure to grant

 a severance will result in ‘real not fanciful’ prejudice”). “Mere allegations” of prejudice are not




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 enough to establish a defendant’s right to severance. Urban, 404 F.3d at 775 (citing United

 States v. Reicherter, 647 F.2d 397, 400 (3d Cir. 1981)).

        Rule 14 leaves the determination of the risk of prejudice as well as any appropriate

 remedy to the sound discretion of the trial court. Zafiro, 506 U.S. at 541. Consequently, even if

 a defendant can establish some prejudice resulting from joinder, the remedy of severance is not

 automatic. Id. at 538-39 (declining to adopt a bright-line rule mandating severance whenever co-

 defendants plan to present conflicting defenses at trial).

        Instead, a trial judge has at least three mechanisms available short of severance that may

 cure any potential prejudice claimed by a defendant in a Rule 14(a) motion. First, the possibility

 that a jury could be prejudicially influenced against one defendant because of the presence of

 another defendant may be addressed during jury selection. United States v. Bissell, 954 F. Supp.

 903, 912 (D.N.J. 1997).

        Second, providing a chart or similar organizational aid can help the jury effectively

 segregate the evidence admitted against one defendant from evidence admitted against a

 codefendant. Urban, 404 F.3d at 776.

        Third, and most important, a court can issue proper limiting instructions before the

 admission of certain evidence and at other appropriate times during trial. The jury is presumed

 to follow limiting instructions. Zafiro, 506 U.S. at 540-41 (citation omitted). Such instructions

 may diminish potential prejudice to a defendant seeking severance by helping the jury to

 compartmentalize the evidence presented against multiple defendants. See United States v.

 Console, 13 F.3d 641, 655-56 (3d. Cir. 1993); see also United States v. Riley, 621 F.3d 312, 335

 (3d Cir. 2010) (affirming the district court’s refusal to sever certain counts in a multi-count

 indictment brought against two defendants, and finding that a district court’s specific instructions



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 that the jury “must separately consider the evidence against each defendant on each offense

 charged, and . . . must return a separate verdict for each defendant on each offense” alleviated

 any serious risk of compromising the defendant’s trial rights in a manner that would necessitate

 severance); Hobbs, 2012 WL 2873513 at *5 (“Limiting instructions sufficiently alleviate any

 prejudice caused by a joint trial.”) (citing Console, 13 F.3d at 655-56). Consequently, such

 instructions are persuasive evidence that refusals to sever do not prejudice the defendant. Urban,

 404 F.3d at 776.

        In addition to these three specific mechanisms, the trial court has “a continuing obligation

 under Rule 14 to evaluate the prejudicial effect” of evidence presented at trial and to take any

 remedial steps necessary. United States v. Vastola, 670 F. Supp. 1244, 1262 (D.N.J. 1987).

 Thus, the opportunity to consider the need for severance is not limited to the pretrial stage, and a

 defendant may renew such a motion at any appropriate time as the trial progresses.

        If defendants were properly joined under Rule 8(b), severance under Rule 14 is

 appropriate “only if there is a serious risk that a joint trial would compromise a specific trial right

 of one of the defendants, or prevent the jury from making a reliable judgment about guilt or

 innocence.” Zafiro, 506 U.S. at 539. The Third Circuit has summarized the Zafiro Court’s

 analysis of these risks:

                “Such a risk might occur,” the [Zafiro] Court observed, “when
                evidence that the jury should not consider against a defendant and
                that would not be admissible if a defendant were tried alone is
                admitted against a codefendant.” [citation omitted]. The Court
                cited three specific examples in which this might take place: (1) “a
                complex case” involving “many defendants” with “markedly
                different degrees of culpability,” (2) a case such as Bruton v.
                United States, [citation omitted], where evidence that is probative
                of one defendant’s guilt is technically admissible only against a co-
                defendant, and (3) a case where evidence that exculpates one
                defendant is unavailable in a joint trial. Zafiro, 506 U.S. at 539.



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 United States v. Balter, 91 F.3d 427, 432-33 (3d Cir. 1996). In many instances, the prejudice

 inquiry boils down to “whether the jury can reasonably be expected to compartmentalize the

 evidence against each defendant.” United States v. McGlory, 968 F.2d 309, 340 (3d Cir. 1992).

 A jury fails to compartmentalize when it is unable to make an individualized determination of

 guilt or innocence as to each defendant. United States v. Inigo, 925 F.2d 641, 655-56 (3d Cir.

 1991); see also Hobbs, 2012 WL 2873513, at *4 (“The moving defendant should point to

 specific evidence relating to his co-defendants which the jury will be unable to set aside.”)

 (emphasis added). This risk must be understood in light of the quantity of any allegedly

 prejudicial evidence admitted and its limited admissibility with respect to the defendant seeking

 severance. Eufrasio, 935 F.2d at 568. A defendant is entitled to a separate trial when the jury

 will be unable to compartmentalize evidence against one defendant and is likely to consider it to

 the prejudice of a defendant against whom it is not properly directed. Inigo, 925 F.2d at 655.

 The risk of prejudice varies with the facts of each case. Zafiro, 506 U.S. at 539.

        The trial court must then balance this possibility of prejudice against the public interest in

 joint trials. Eufrasio, 935 F.2d at 568. “The public interest in judicial economy favors joint

 trials where the same evidence would be presented at separate trials of defendants charged with a

 single conspiracy.” Id.; see also Hobbs, 2012 WL 2873513, at *5 (observing that the public

 interest also favors avoiding many witnesses having to testify more than once at severed trials).

        Finally, at least one trial court in this Circuit has employed a seven factor test in order to

 determine whether the risk of prejudice resulting from a joint trial warrants severance. United

 States v. Gatto, 746 F. Supp. 432, 446 (D.N.J. 1990) (Brotman, J.) (citing United States v. Gallo,

 668 F. Supp. 736, 749 (E.D.N.Y. 1987)). Specifically, the court may consider:

                (1) The number of defendants and the number of counts;
                (2) The complexity of the indictment;


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                (3) The estimated length of the trial;
                (4) Disparities in the amount or type of proof offered against the defendants;
                (5) Disparities in the degrees of involvement by defendants in the overall scheme;
                (6) Possible conflict between the various defense theories or trial strategies;
                (7) Prejudice from evidence admitted only against co-defendants but which is
                inadmissible or excluded as to a particular defendant.

 Gatto, 746 F. Supp. at 446. None of the factors is dispositive. Id.

        A review of relevant Third Circuit case law applying the general test for severance

 outlined above reveals numerous admonitions by trial and appeals courts about what is

 specifically insufficient to obtain severance under Rule 14. First, “[p]rejudice should not be

 found in a joint trial just because all evidence adduced is not germane to all counts against each

 defendant. [citation omitted]. Neither a disparity in evidence, nor introducing evidence more

 damaging to one defendant than others entitles seemingly less culpable defendants to severance.”

 Eufrasio, 935 F.2d at 568. Second, “finger-pointing and blame-shifting among coconspirators do

 not support a finding of mutually antagonistic defenses” that might otherwise call for severance.

 United States v. Voigt, 89 F.3d 1050, 1095 (3d Cir. 1996). Third, defendants are not entitled to

 severance simply because they may have a better chance of being acquitted in separate trials

 rather than a joint trial. Zafiro, 506 U.S. at 540.

        Additionally, when the acts of all co-defendants are also alleged to be overt acts of the

 same RICO conspiracy, evidence relating to a defendant’s co-conspirators is generally

 admissible against that defendant as well. Thus, even if a court ordered severed trials, the

 government would likely be able to offer that evidence against the defendant obtaining

 severance; thus, in such cases, a defendant could not show that admission of that evidence in a

 joint trial would cause him the prejudice necessary to warrant severance. See Hobbs, 2012 WL

 2873513, at*4; see also Colbert, 2011 WL 3360112 at *15 (denying a motion to sever for lack of

 real prejudice because “the government indicates that it will be able to adduce some evidence


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 linking each of the defendants to the alleged RICO conspiracy, and it follows that evidence of

 other co-conspirators’ overt acts may well be admissible against each member of the conspiracy,

 even if the remaining defendants were tried separately”) (citing United States v. Dickens, 695

 F.2d 765, 779 (3d Cir. 1982)).

         Fourth, the risk of spillover prejudice in a multi-count indictment is lessened when the

 various criminal activities charged involve “different factual bases” because such differences aid

 in the jury’s compartmentalization of such evidence. See United States v. Lipari, No. 92-164,

 1992 WL 165799 (D.N.J. July 8, 1992).

         Finally, the case of United States v. Vastola is instructive. 670 F. Supp. 1244 (D.N.J.

 1987). The case involved a large RICO prosecution involving a 114-count indictment naming

 twenty-one defendants. Ten defendants were charged with RICO violations, including a RICO

 conspiracy. Id. at 1251-52. The remaining counts involved crimes alleged to be predicate acts

 of the RICO enterprise. Id. at 1252. The judge ordered that the ten defendants charged under

 RICO be severed from the eleven remaining non-RICO defendants “for case management

 reasons.” Id. at 1262. But the court denied defendants’ motions to sever any of the counts

 involving the alleged RICO predicate acts. Specifically, the court rejected the defense’s

 argument “that extortion and narcotics activities as alleged will have prejudicial spillover onto

 the other ‘white collar’ activities alleged” because all of the criminal activities were alleged to be

 part of a single criminal enterprise. Id. Thus, the Vastola case reaffirms the appropriateness of

 trying together diverse criminal acts that have been properly joined under the RICO statute, even

 when “white collar” or professional activities are charged alongside more traditional criminal

 activities related to drugs or threats of violence.

 V. Application



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            Mindful of these principles, the Court now turns to the moving defendants’ various

 arguments in favor of severance.

            As an initial matter, it is necessary to acknowledge the defendants’ burden in

 demonstrating the need for severance at this stage in the litigation. The Court is mindful of the

 clearly established preference in the federal system for joint trials of defendants who are indicted

 together. See United States v. Urban, 404 F.3d 754, 775 (3d Cir. 2005). It notes further that this

 preference operates most strongly in the context of trials charging a RICO conspiracy. See

 United States v. Eufrasio, 935 F.2d 553, 567 (3d Cir. 1991); United States v. Vastola, 670 F.

 Supp. 1244, 1262 (D.N.J. 1987). Thus, while the Court recognizes that it has the power to grant

 severance under Fed. R. Crim. P. 14(a), it must likewise acknowledge that when Congress

 passed the RICO statute, it “significantly alter[ed] the way trials are conducted in cases that

 involve racketeering acts committed by members of an enterprise.” See United States v. Bergrin

 (Bergrin I), 650 F.3d 257, 275 (3d Cir. 2011). The result is that the Government in this case

 enjoys broad discretion to join diverse defendants, even when they are charged with different

 acts, because all such acts are charged as predicates of a larger racketeering conspiracy. See

 Eufrasio, 935 F.2d at 567. This broad joinder authority increases the moving defendants’ burden

 in establishing the need for severance.

            Accordingly, when many of the moving defendants 7 ask the Court to adopt a rule from

 the Second Circuit that would place the burden on the Government to demonstrate why

 severance is not appropriate, see United States v. Casamento, 887 F.2d 1141, 1151-52 (2d Cir.

 1989), the Court must decline the invitation to do so. The Third Circuit has never embraced this

 doctrine. Instead, it has made abundantly clear that the defendant bears a “heavy burden” of

 showing that a failure to sever will lead to “clear and substantial prejudice resulting in a
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     See, e.g., McCarthy Br. 8, Adler Br. 10.

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 manifestly unfair trial.” Urban, 404 F.3d at 775; Eufrasio, 935 F.2d at 568. Thus, the Court

 must view the moving defendants’ various arguments in favor of severance in this light.

        A. Spillover Prejudice

        Most of the moving defendants argue in one way or another that a joint trial will create

 the risk of spillover prejudice. McCarthy Br. 14-15; Drossner Br. 3-5, 9-10; Adler Br. 6.

 Essentially, they assert that in their particular case, the “jury cannot reasonably be expected to

 compartmentalize the evidence against each defendant.” See United States v. McGlory, 968 F.2d

 309, 340 (3d Cir. 1992).

        At this stage in the litigation, the Court is not convinced that Defendants have met their

 “heavy burden” of demonstrating the need for severance based on the risk of spillover prejudice.

 See Urban, 404 F.3d at 775. First, the Court can significantly reduce the risk of such prejudice

 through the use of carefully crafted limiting instructions to the jury. See United States v.

 Console, 13 F.3d 641, 655-56 (3d Cir. 1993); United States v. Riley, 621 F.3d 312, 335 (3d Cir.

 2010). Second, the Government has made clear that it plans to use summary charts at various

 points in the trial in order to help the jury’s compartmentalization efforts. Gov’t Opp. Mem. 26.

 The Third Circuit has specifically approved of the use of such charts for this very purpose. See

 Urban, 404 F.3d at 776.

        The moving defendants argue that prejudice will result because of the differences in the

 amount of evidence the Government plans to offer against them versus the amount of evidence it

 will offer against non-moving defendants like Mr. Scarfo and Mr. Pelullo. McCarthy Br. 14;

 Drossner Br. 16 n.5. But it is clearly established in this Circuit that “[n]either a disparity in

 evidence, nor introducing evidence more damaging to one defendant than others entitles




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 seemingly less culpable defendants to severance.” Eufrasio, 935 F.2d at 568. Thus, the Court

 cannot grant the moving defendants’ motions to sever on this basis.

         The moving defendants continue that prejudice will result in a joint trial because the jury

 might use evidence that was admitted against a certain defendant to convict another defendant

 against whom it is not admissible. Drossner Reply Br. 4; Adler Br. 7, 11; W. Maxwell Reply Br.

 6-7. Relatedly, they emphasize that evidence of Defendants Scarfo’s and Pelullo’s alleged ties to

 La Cosa Nostra, as well as evidence of alleged threats and descriptions of violence will work

 further prejudice. McCarthy Br. 14-15; Drossner Br. 3-5, 9-10; Adler Br. 6; Parisi Br. 12. While

 both of these arguments raise important concerns about the moving defendants’ right to a fair

 trial, the Court cannot conclude at this time that they establish a proper basis for severance.

 First, as stated above, the Court can explain the limited admissibility of certain evidence to the

 jury with proper limiting instructions. Further, at this stage in the litigation, it is not clear what

 evidence may and may not be admissible against which defendants. The Government repeatedly

 asserts that much of its evidence will be admissible against most defendants either as co-

 conspirator admissions or as relevant evidence pertaining to the RICO allegation in which all of

 the moving defendants are charged. Gov’t Opp. Mem. 24-25, 30, 32, 40, 42. Because the Court

 does not know at this time exactly what evidence the Government plans to offer, it is premature

 to order severance on this basis. Rather, the Court will remain mindful of its “continuing

 obligation under Rule 14 to evaluate the prejudicial effect” of evidence presented at trial and to

 take any remedial steps necessary. See United States v. Vastola, 670 F. Supp. 1244, 1262

 (D.N.J. 1987).

         The moving defendants maintain that severance is appropriate because the conspiracies

 alleged in the Indictment involve different time periods and different subject matter. Drossner



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 Br. 24-25; Adler Br. 11. This circumstance does nothing to further the defendants’ case for

 severance. That is, the fact that the various conspiracies alleged in the Indictment rest on distinct

 factual bases will help, rather than hinder, the jury in its efforts to compartmentalize the evidence

 introduced against each defendant. See United States v. Lipari, No. 92-164, 1992 WL 165799 at

 *11 (D.N.J. July 8, 1992).

        B. Administrative and Logistical Burdens

        Defendant McCarthy and his co-defendants fear that trying the instant case as charged in

 the Indictment would give rise to a “monster trial” that would unduly strain the Court’s resources

 while placing an undue burden on the jurors who would be asked to serve in the case. McCarthy

 Br. 6; Adler Br. 8. While the Court is aware that trial a single trial will pose certain logistical

 and managerial challenges to its docket and to the parties involved, it is fully confident in its

 ability to overcome such challenges. Thus, at this stage in the litigation, the Court cannot

 conclude that these concerns overcome the “public interest in joint trials.” See Eufrasio, 935

 F.2d at 568. In addition, the Court firmly believes that granting defendants’ severance motions

 and holding multiple trials on the counts in the Indictment would create additional, rather than

 fewer, demands on the Court’s limited resources. As the Government makes clear, any of the

 severance plans offered by the moving defendants would require the prosecution to present its

 evidence on the securities fraud conspiracy (which represents most of what the Government

 plans to offer in its entire case in chief) multiple times to multiple juries. Gov’t Opp. Mem. 14.

 Given this circumstance, there is a strong public interest in judicial economy that favors a joint

 trial, because otherwise the “same evidence would be presented at separate trials of defendants

 charged with a single conspiracy.” See Eufrasio, 935 F.2d at 568.

        C. Additional Arguments in Favor of Severance



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        Some of the moving defendants argue that separate trials are warranted because the

 Indictment does not make allegations against them with requisite specificity. Parisi Br. 4-6;

 Drossner Br. 6, 7-9; W. Maxwell Reply Br. 2. Further, Defendant Adler seeks severance in part

 because he plans to present a “technical defense” to the jury, and the nuances of such a defense

 will be lost on jurors once the prosecution introduces evidence regarding La Cosa Nostra,

 firearms, and threats of violence. Adler Br. 3-4. The Court finds both of these arguments

 unsupported by any Third Circuit case law, however, and does not accept them as a proper basis

 for severance.

        Defendant William Maxwell argues that if all defendants are tried together, they will

 engage in “finger-pointing” which will lead various defendants to present “antagonistic

 defenses.” W. Maxwell Reply Br. 6 n.2. While claims of antagonistic defenses may be proper

 grounds for severance, it is well established that such defenses must be discordant “to the point

 of being irreconcilable and mutually exclusive.” United States v. Sandini, 888 F.2d 300, 310 (3d

 Cir. 1989). Accordingly, “finger-pointing and blame-shifting among coconspirators” do not

 meet this demanding standard. See United States v. Voigt, 89 F.3d 1050, 1095 (3d Cir. 1996).

        Finally, those arguments advanced by some of the moving defendants concerning

 hypothetical plans either to testify, Drossner Br. 17, or to call co-defendants as exculpatory

 witnesses, McCarthy Br. 21, are premature at this early stage in the proceedings. The Court will

 abide by its “continuing obligation under Rule 14” to determine whether these plans, once they

 have taken concrete form, will establish proper grounds for severance. See Vastola, 670 F. Supp.

 at 1262.




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 VI. Conclusion

        For the reason stated above, all defendants’ motions to sever are DENIED. The Court

 will issue an appropriate order.




 Dated: September 19, 2012                                  /s/ Robert B. Kugler
                                                          ROBERT B. KUGLER
                                                          United States District Judge




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